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                                                                         Order Filed on September 6, 2022
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    3//&                                                                U.S. Bankruptcy Court
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